Case 1:21-cv-22948-PCH Document 5-2 Entered on FLSD Docket 09/02/2021 Page 1 of 7




                            EXHIBIT "B"
Case 1:21-cv-22948-PCH Document 5-2 Entered on FLSD Docket 09/02/2021 Page 2 of 7




                                EMPLOYMENT AGREEMENT

           THIS EMPLOYMENT AGREEMENT is made the 20th day of February 2019
    BETWEEN EMIGDIO ANTONIO DE GRACIA ALAiN of
                                 Panama (hereinafter referred to as "The Employee") AND
    ADMIRAL MANAGEMENT INC., 80 Broad Street, Monrovia, Liberia (hereinafter
    referred to as "The Company").

    Whereas the Company agrees to employ the Employee and the Employee agrees to be
    employed by the Company in the capacity of INVENTORY MANAGER at the Company's
    private site known as CocoCay (Bahamas) ("CocoCay") pursuant to the terms and conditions
    provided below:

       1. Term of Agreement

          The term of this Agreement shall commence on March 8, 2019 and end on March 7,
          2020.

       2. Schedule of Work

          In satisfaction of all vacation time and any other required days off per year, the
          Employee shall work on a leave cycle of four (4) months ON followed by two (2)
          months OFF. According to the requirements of the position, and at the sole discretion
          of the Company, this pattern may be varied from time to time but, in any event, the
          Employee shall be entitled to not less than one hundred twenty (120) days OFF during
          the term of this Agreement, or pro rata, inclusive of vacation ancl other time off.
          Employee understands that if he or she takes less than 120 days off in during the term
          of this Agreement (or pro rata portion thereof), he or she shall be paid at the end of
          the term for such unused time up to 120 days (or the applicable pro rata amount).
          Such payment shall be equal to Employee's daily rate (determined based upon his or
          her yearly salary divided by 365 days) times the number of unused days below 120
          (or the applicable pro rata amount).

       3. Remuneration

       i) Employee shall be paid a monthly salary of USD$                  which will be paid
          monthly.     The parties acknowledge that the amount of Employee's salary shall be
          inclusive of any overtime payments or vacation payments that may otherwise be
          prescribed by applicable law. The Company shall be responsible for all NIB
          contributions on behalf of the Company and the Employee. The Employee
          acknowledges and agrees that he or she shall be solely responsible for any tax
          obligations in their home country and agrees to indemnify the Company in the event
          authorities in their home country make any claims for taxes or social contributions for
          the Employee while employed by the Company under this Agreement.


                                                                                      Page 1 of6
Case 1:21-cv-22948-PCH Document 5-2 Entered on FLSD Docket 09/02/2021 Page 3 of 7




      ii) In addition to the compensation set forth in Section 3 i), INVENTORY MANAGER
          shall be eligible to receive a discretionary annual bonus ofup to fifteen percent (15%)
          of INVENTORY MANAGER's annual compensation (                               USD) upon
          performing and achieving success with all of his/her duties in a diligent and
          professional manner. The bonus will only be payable at the sole and unfettered
          discretion of the Company and is not guaranteed.


      4. Hours of Work

         The parties agree that Employee's hours of work may vary from day to day and at the
         sole discretion of the Company depending on whether a ship is in Port at the site or
         not. The Company agrees to schedule appropriate rest periods in accordance with
         applicable law.

      5. Sick Leave

         Employee shall be entitled to one (1) week of sick leave with pay. Sick leave is only
         to be taken when Employee is ill or otherwise incapacitated. Employee is required to
         contact their supervisor at least two (2) hours before scheduled to begin work to
         report any absence due to illness. Employee will not be required to produce a medical
         certificate for a single day of absence due to illness. Where three (3) consecutive
         days of sick leave or more is taken, Employee must, as soon as practicable and prior
         to returning to work, present his or her supervisor with a medical certificate to cover
         all the consecutive days of leave from the beginning. The employer reserves the right
         to waive the physician' s certificate requirement. As required by law, the Company
         makes National Insurance contributions and will assist in recovering claims for illness
         through National Insurance or Private Medical Insurance coverage (if applicable).

         In the event Employee suffers an illness or injury which occurs during the course and
         scope of their employment at the site, and requires repatriation to the Employee' s
         home country for extended medical care and recovery, the Company shall pay sick
         pay at an amount to be determined by the Company based on the position held for a
         maximum period of 130 days after repatriation or until the Employee is declared to be
         fit for duty, whichever period is shorter.

      6. Compassionate Leave

         Employee will be eligible for early termination of this Agreement if he or she has
         suffered a death in his or her immediate family. Immediate family is considered to be
         spouse, children or parents. Employee shall be responsible for any costs of travel, if
         any, associated with the early termination.         Employee shall be eligible for
         reassignment after the leave granted under these circumstances.

      7. Maternity Leave
                                                                                      Page 2 of6
Case 1:21-cv-22948-PCH Document 5-2 Entered on FLSD Docket 09/02/2021 Page 4 of 7




         Employees shall be eligible for up to twelve (12) weeks ' maternity leave after twelve
         (12) months of continuous service. Employees requesting maternity leave must
         provide the following:

           (i) a certificate issued by a medical practitioner providing the expected date of the
                Employee ' s delivery in advance so the Company can prepare for the maternity
                leave; and
           (ii) a certificate issued by a medical practitioner of a midwife providing the actual
                date of the Employee' s delivery.

         Employee shall be eligible for reassignment for a period of no later than 12 months
         after the date of delivery.

      8. Insurance

         The Employee is eligible to enroll in the Company's health plan. A booklet
         describing the benefits of the medical plan is available request. Employee shall be
         covered by Group Life and AD&D coverage provided by the Company.

      9. Retirement Plan

         The Company has a retirement plan available for Employees. The rights and benefits
         of Employees are specified in the terms and conditions of the plan. The Company
         reserves the right to amend and/or terminate the plan at any time.

      10. Termination/Severance Pay

         If Employee is terminated with notice, Employee will be entitled to the following:


          Employee has worked at One (1) weeks' notice or one (1) weeks' basic
          least Six (6) months but less pay in lieu of notice (or a part thereof on a pro
          than twelve (12) months       rata basis) for the period between six (6)
                                        months and twelve 12 months.
          Employee       has   worked Two (2) weeks' notice or two (2) weeks'
          Twelve (12) months or basic pay (or a part thereof of on a pro rata
          more                          basis) for each year up to twenty-four (24)
                                        weeks.
          Supervisor/Manager            One (1) months' notice or one month's basic
                                        pay in lieu of notice; and one (1) months'
                                        basic pay (or a part thereof on a pro rate
                                        basis) for each year up to forty-eight ( 48)
                                        weeks.



                                                                                      Page 3 of6
Case 1:21-cv-22948-PCH Document 5-2 Entered on FLSD Docket 09/02/2021 Page 5 of 7




         Further, an Employee is not to terminate his/her employment until the expiration of
         two (2) weeks' notice to the employer if the period of employment is one (I) year of
         more but less than two (2) years; and four (4) weeks' notice to the employer of the
         period of employment is two (2) years or more.

         If Employee is severed summarily, for cause, the Company is under no obligation to
         serve notice or pay in lieu of notice.


         11 .      Disciplinary Procedures

         Disciplinary breaches are either Minor or Major.

         (i)       Minor Disciplinary Breach

                Step 1           A verbal warning will be given to Employee and the same will
                                 be recorded in Em lo ee's ersonnel file.
                                                                   --------------------~
                Step 2           1st written warning will be issued to Employee and the same
                                 will be recorded in Em lo ee's ersonnel file.
                                                                   ~------------------~
                Step 3           2nd and final written warning will be issued to Employee and
                                 the same will be recorded in Em loyee's personnel file.
                Ste 4            Sus ension and/or Dismissal.

         (ii)      Major Disciplinary Breach

                Major Disciplinary Breaches by the Employee entitle the Company to terminate
                the Employee for cause without pay and without notice. These major breaches
                include but are not exhaustive:

                   •     theft;
                   •     fraudulent offences;
                   •     dishonesty;
                   •     gross insubordination or insolence;
                   •     grossindecency;
                   •     breach of confidentiality, provided that this ground shall not include a good
                         faith report made to a law enforcement agency or to a government
                         regulatory department or agency;
                   •     gross negligence;
                   •     incompetence;
                   •     gross misconduct; and
                   •     sexual assault or harassment and sexual advances to guests or other
                         employees.

         12.       Grievances

                                                                                          Page 4 of6
Case 1:21-cv-22948-PCH Document 5-2 Entered on FLSD Docket 09/02/2021 Page 6 of 7




         All work-related grievances must be identified by the Employee within seven (7) days
         of the occurrence of an incident. The following steps must be followed:

           (i) the grievance should be brought to the attention of the immediate supervisor
                within seven (7) days and should be first discussed between the Employee and
                the supervisor; and
           (ii) failing the satisfactory resolution of the incident between the Employee and the
                supervisor, either party may request a review with the HR Manager and the Site
                Manager.

         13. Other Policies/General & Human Resources Policies & Procedures Manual

         You are required to adhere to all other policies and procedures provided by the
         Company. Any change or addition to the policies will be communicated to you.

         14.    Work Authorization

         Employment is subject to the requirements of the Immigration and Work Permit Laws
         of The Commonwealth of the Bahamas. This will require proper verification of
         citizenship or legal right to work in The Bahamas prior to or during your
         employment. In the event Employee's work permit is revoked, suspended or
         otherwise becomes invalid for any reason, the Company reserves the right to
         terminate this agreement as of the date the permit is no longer valid.

         15.    Law Governing this Agreement

         This employment agreement shall be governed by, construed and interpreted in
         accordance with the Laws of The Bahamas. In the event of dispute, the Laws of The
         Bahamas shall apply, and the Company and the Employee agree that all disputes of
         any nature arising out of or in any way related to Employee ' s employment or to any
         other dispute with the Company, including for death, personal injury, illness, medical
         care, wages and benefits, whether brought under common law, contract or statutory
         grounds shall be resolved by mandatory arbitration in the Bahamas with one arbitrator
         mutually agreed by the parties.        The arbitration shall be administered by the
         American Arbitration Association under its International Center for Dispute
         Resolution Procedures. Each side shall share equally the cost of any arbitration and
         each side shall bear its own attorney's fees and costs associated with the arbitration.

         16.    Agreement Contains all Terms

         Except for any provision that applies by virtue of law, this Agreement constitutes the
         full commitments that have been extended to Employee. If Employee has any
         questions regarding these commitments or your ability to conform to the Company's


                                                                                    Page 5 of6
Case 1:21-cv-22948-PCH Document 5-2 Entered on FLSD Docket 09/02/2021 Page 7 of 7




         policies and procedures, please inform the Human Resources Manager as soon as
         possible.



         17.    Amendments

         No amendments or modifications to this employment agreement shall be valid or
         binding unless made in writing and signed by both parties and specifying the date on
         which they shall come in to operation.


         18.    Capacity of Parties to Sign

         Both the Company and the Employee warrant that they have the requisite capacity,
         authority and permission to enter into this Agreement.


                                   ·/'~~~ ga&;;
         Employee Signature _ ___,_'f_
                                     "_
                                      -~v_ _____.:_f_ _ __       Date
         Emigdio Antonio De Gracia Alain


         HR Representative __-
                             -----,n
                                   _ _
                                     £ _(:J
                                        _+-l...
                                           """""'-----           Date February 20, 2019
         Oiivier Colimon         ~




                                                                                  Page 6 of6
